                                                            B - I L C U
                                                                   Clerk
                          Case 1:09-cv-00019 Document     38 Filed 10/09/09 Page 1 of 2
                                               Distrlct Court
A-I 1 (rev. 05/00)                                                                                                       Page 1 of 2



                                                   For The NorthernMariana Islands
                                                                                       USCA DOCKET # (IF KNOWN)
                                                                                                                                   I
                                                   BY
                                                            (Dfww clerk)
                                        UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
                                                 CIVIL APPEALS DOCKETING STATEMENT
 'LEASE ATTACH ADDITIONAL PAGES IF NECESSARY
 TITLE IN FULL                                           I DISTRICT: USDCNMI              JUDGE: Alex R. Munson. Chief Judee
 RANDALL T. FENNELL
 -V_.
                                                         I DISTRICT COURT NUMBER:       civil No. 09-00 19
 MATTHEW T. GREGORY, former Attorney                      DATE
                                                          FILED:       10/09/2009
                                                                           OF APPEAL      IS THIS A CROSS-APPEAL?          0 YES
 General, GREGORY BAKA. Acting
 Attorney General, ANTHONY WELCH,                         IF THIS MATTER HAS BEEN BEFORE THIS COURT PREVIOUSLY
 Assistant Attorney General and TOM J.                    PLEASE PROVIDE THE DOCKET NUMBER AND CITATION (IF ANY):
  SCHWEIGER, Assistant Attorney General
                     ~~             ~         ~~              ~~            ~~~




 BRIEF DESCRIPTION OF NATURE OF ACTION AND RESULT BELOW:
 This is a civil action brought under 42 1J.S.C. section 1983 alleging in violation of plaintiffs First Amendment,
 equal protection, and due process rights. Defendant-Appellants seek review of the trial courts denial of qualified
 immunity.



 PRINCIPAL ISSUES PROPOSED TO BE WISED ON APPEAL:
 The trial court ruled if the facts alleged are proven the Defendant-Appellants violated in a new and novel way
 Plaintiff-Appellee's rights. Government officials are entitled to qualified immunity if the Constitutional Right
 violated was not clearly established. Did the trial court err in finding that a new and novel violation is clearly
 established?

 PLEASE IDENTIFY ANY OTHER LEGAL PROCEEDING THAT MAY HAVE A BEARING ON THIS CASE (INCLUDE PENDING
 DISTRICT COURT POST JUDGMENT MOTIONS):
 N/A




 DOES THIS APPEAL INVOLVE ANY OF THE FOLLOWING:

 0      Possibility of settlement
        Likelihood that intervening precedent will control outcome of appeal
       Likelihood of a motion to expedite or to stay the appeal, or other procedural matters (Specify)


 0     Any other information relevant to the inclusion of this case in the Mediation Program



 0      Possibility parties would stipulate to binding award by Appellate Commissioner in lieu of submission to judges
                                              LOWER COURT INFORMATION
                              Case 1:09-cv-00019 Document 38 Filed 10/09/09 Page 2 of 2
                                                                                                                 Page 2 of
I                     JURISDICTION                                         DISTRICT COURT DISPOSITION



Id     FEDERAL
          FEDERAL
          QUESTION
                          0
                                   APPELLATE
                              FINAL DECISION OF
                              DISTRICT COURT

                          d INTERLOCUTORY
                                                 - TYPE OF JUDGMENT/ORDER APPEALED
                                                          0 DEFAULT JUDGMENT

                                                          0   DlSMlSSALlJURlSDlCTlON
                                                                                              0 DAMAGES:
                                                                                                        RELIEF

                                                                                                  SOUGHT $
                                                                                                  AWARDED $


I
1
     00

 0 OTHER
          DIVERSITY



                          0
                              DECISION APPEALABLE
                              AS OF RIGHT

                              INTERLOCUTORY
                                                          d DISMISSAL/MERlTS
                                                          0   SUMMARY JUDGMENT
                                                                                              0   INJUNCTIONS:

                                                                                                  0   PRELIMINARY

                              ORDER CERTIFIED BY          0 JUDGMENTKOURT DECISION                0 PERMANENT
                              DISTRICT JUDGE
                              (SPECIFY):                                                          0 GRANTED
                                                          0 JUDGMENT/JURYVERDICT

                                                          0   DECLARATORY JUDGMENT                0 DENIED
                          0   OTHER (SPECIFY):

                                                          0   JUDGMENT AS A MATTER OF LAW     0   ATTORNEY FEES:
                                                                                                  SOUGHT $
                                                          0 OTHER (SPECIFY):                      AWARDED $

                                                                                                  0   PENDING

                                                                                              0   COSTS:$

                                                   CERTIFICATION OF COUNSEL


II   I CERTIFY THAT:

          1. COPIES OF ORDER/JUDGMENT APPEALED FROM ARE ATTACHED



II        2. A CURRENT SERVICE LIST OR REPRESENTATION STATEMENT WITH TELEPHONE AND FAX NUMBERS I
             ATTACHED (SEE 9TH CIR. RULE 3-2).
                                                                                               S

          3. A COPY OF THIS CIVIL APPEALS DOCKETING STATEMENT WAS SERVED IN COMPLIANCE WTH FRAP 25.


I         4.   I UNDERSTAND THAT FAILURE TO COMPLY WITH THESE FILING REQUIREMENTS MAY RESULT IN
               SANCTIONS, INCLUDING DISMISSAL OF THIS APPEAL.




I                                         COUNSEL WHO COMPLETED THIS FORM
INAME:                BRADDOCK HUESMAN
IFIRM:                OFFICE OF THE ATTORNEY GENERAL CIVIL DIVISION

II  ADDRESS:


    E-MAIL:
                      Hon. Juan A. Sablan Memorial Building, 2nd Floor, Capital Hill
                      Caller Box 10007, Saipan, MP 96950
                      braddock.huesman@,gmail.com
          ~      ~    ~        ~     ~~          ~~~~~~                        ~   ~~




    TELEPHONE:        664-2341

    FAX:              664-2329
     * THIS DOCUMENT SHOULD BE FILED IN THE DISTRICT COURT WITH THE NOTICE OF APPEAL *
         * IF FILED LATE, IT SHOULD BE FILED DIRECTLY WITH THE U.S. COURT OF APPEALS *
